            Case 1:15-vv-01011-UNJ Document 53 Filed 12/08/17 Page 1 of 7




           In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                              No. 15-1011V
                                          Filed: April 19, 2017
                                                Published

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AMRIT DHANOA,                               *
                                            *
                      Petitioner,           *      Finding of Fact; Influenza (“Flu”)
v.                                          *      Vaccine; Shoulder Injury Related to
                                            *      Vaccine Administration (“SIRVA”);
SECRETARY OF HEALTH                         *      Adhesive Capsulitis; Location of
AND HUMAN SERVICES,                         *      Vaccination; Special Processing Unit
                                            *      (“SPU”)
                      Respondent.           *
                                            *
*************************
Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.
Ann Donohue Martin, U.S. Department of Justice, Washington, DC, for respondent.

    RULING ON FACTS 1 AND SCHEDULING ORDER– SPECIAL PROCESSING UNIT

Dorsey, Chief Special Master:

         On September 11, 2015, Amrit Dhanoa (“petitioner” or “Ms. Dhanoa”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10,
et seq., (the “Vaccine Act” or “Program”). Petitioner alleges that she suffered an injury to her
right shoulder, including adhesive capsulitis and shoulder injury related to vaccine administration
(“SIRVA”), as a result of an influenza (“flu”) vaccine she received on August 19, 2014. Petition
at 1-2. The case was assigned to the Special Processing Unit (“SPU”).

        Prompting this fact ruling is a joint status report filed on March 20, 2017, requesting a
written determination of whether the flu vaccine was administered in petitioner’s left or right arm
and whether the onset of petitioner’s right shoulder pain occurred within forty-eight hours of
petitioner’s flu vaccination. After a review of the record as a whole, a fact hearing, and for the
reasons set forth below, the undersigned finds by preponderant evidence that (1) Ms. Dhanoa
received her August 19, 2014 flu vaccination in her right arm and (2) the onset of Ms. Dhanoa’s
right shoulder pain occurred within forty-eight hours of her flu vaccination.
1
  Because this unpublished order and ruling contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012)(Federal Management and Promotion of Electronic
Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, the undersigned agrees that the identified material fits within this definition, the undersigned will
redact such material from public access.
           Case 1:15-vv-01011-UNJ Document 53 Filed 12/08/17 Page 2 of 7




    I.       Procedural History

         In the petition filed on September 11, 2015, Ms. Dhanoa asserts that she received a flu
vaccine on August 19, 2014, at CVS Pharmacy in Richardson, Texas. Petition at 2, ¶3. The
statement of completion was also filed on September 11, 2015, signifying that petitioner believed
that all relevant medical records had been filed. See Statement of Completion (ECF No. 2). A
notice of assignment to Chief Special Master Nora Beth Dorsey as an SPU case was entered on
September 14, 2015. See Notice (ECF No. 7). An initial status conference was set for October
26, 2015.

        On December 9, 2015, respondent filed a Rule 4(c) Report asserting that petitioner’s
request for entitlement to compensation under the Vaccine Act be denied. Respondent’s Report
at 1 (ECF No. 14). On January 15, 2016, the undersigned ordered petitioner to file additional
medical records, an updated exhibit list, and a second statement of completion. See Scheduling
Order at 1 (ECF No. 15). Petitioner was also ordered to file an affidavit to explain any
unavailable medical records. Id. Petitioner filed her CVS vaccination record on February 16,
2016, an affidavit of Petitioner on February 26, 2016, additional medical records and an exhibit
list on February 29, 2016, and a statement of completion on February 29, 2016. See Petitioner’s
Exhibits (“Pet. Exs.”) 10-12 (ECF Nos. 16-18); Exhibit List (ECF No. 19); Statement of
Completion (ECF No. 20).

        A status conference was held on March 29, 2016. The parties were ordered to file a status
report regarding settlement discussions. See Scheduling Order (ECF No. 21). The joint status
report filed on May 2, 2016 indicated that the parties were unclear about whether the case could
be resolved by settlement, but the parties requested an extension of time to continue to pursue
settlement discussions. See Joint Status Report (ECF No. 22). A joint status report was filed on
May 26, 2016, in which the parties reported that they believed “resolving [the] case by
settlement [was] not feasible.” See Joint Status Report (ECF No. 24).

       On June 30, 2016, the undersigned convened a telephonic status conference pursuant to
Vaccine Rule 5 to share with the parties her tentative findings and conclusions. The Rule 5
Scheduling Order filed on July 5, 2016 presents the undersigned’s tentative findings and
conclusions. 2 See Rule 5 Scheduling Order at 2-3 (ECF No. 25). A joint status report filed on
July 27, 2016 stated that “the parties have discussed this case in detail following the Rule 5
Conference and believe a fact hearing is necessary to reach a resolution.” Joint Status Report
(ECF No. 26).

        A fact hearing occurred before the undersigned in Dallas, Texas on December 8, 2016.
After the hearing, petitioner was ordered to file outstanding medical records. Post-Hearing Order


2
 The undersigned’s preliminary findings and conclusions are as follows: (1) Petitioner received the flu vaccination
alleged as causal in her right (injured) arm; (2) Petitioner’s onset was immediate; (3) Petitioner’s failure to mention
her shoulder pain to her primary care physician on August 21, 2014 or her dermatologist on August 28, 2014 and
September 30, 2014 was reasonable; and (4) Petitioner’s clinical course and diagnosis was consistent with a SIRVA.


                                                          2
           Case 1:15-vv-01011-UNJ Document 53 Filed 12/08/17 Page 3 of 7



(ECF No. 31). She filed the additional medical records on January 10, 2017, February 10, 2017,
and February 22, 2017. 3

        On March 20, 2017, the parties filed a joint status report requesting a written
determination regarding whether the flu vaccine was administered in petitioner’s left or right arm
and whether the onset of petitioner’s right shoulder pain occurred within forty-eight hours of
petitioner’s flu vaccination. Status Report (ECF No. 41). The undersigned now issues this fact
ruling.

    II.      Factual History

        Ms. Dhanoa’s medical history before her 2014 flu vaccination is significant for diabetes,
heart problems, and rash. On June 14, 2013, Ms. Dhanoa visited her cardiologist, Dr. Agrawal,
with complaints of weakness, fatigue, dizziness, atypical abdominal discomfort, and palpitations.
Pet. Ex. 5 at 9. Ms. Dhanoa “was hospitalized approximately 3 years ago with palpitations and
atypical chest pain.” Id. On June 4, 2014, Ms. Dhanoa called her cardiologist due to her
experience of waking up with chest pressure and sobbing at night. Id. at 8. On August 13, 2014,
Ms. Dhanoa visited Dr. Steinmetz with complaints of a spreading rash. Pet. Ex. 7 at 5.

        On August 19, 2014, Ms. Dhanoa received a flu vaccine at CVS Pharmacy in Richardson,
Texas. Pet. Ex. 1 at 6; see also Pet. Ex. 10. The vaccination record indicates the vaccination was
administered by intramuscular injection but does not indicate the injection site. Id. Ms. Dhanoa
saw her primary doctor, Dr. Naghmi, on August 21, 2014 for the purpose of receiving treatment
for her rash. Pet. Ex. 2 at 7. The medical record does not mention any complaints of right arm or
shoulder pain. Id. Instead, the medical record states that Ms. Dhanoa “denies joint and muscle
pain” and “ROM intact for spine and extremities.” Id.

       On August 28, 2014, Ms. Dhanoa saw her dermatologist, Dr. Aponte, to receive
treatment for her rash which was worsening and “ha[d] been occurring for 1 year.” Pet. Ex. 8 at
7. Ms. Dhanoa followed up with Dr. Aponte about her rash on September 30, 2014. Id. at 6. The
medical records from these two visits do not mention Ms. Dhanoa’s right shoulder pain. Id.

        On October 31, 2014, Ms. Dhanoa visited her primary doctor, Dr. Naghmi, complaining
of pain in her right shoulder. Pet. Ex. 2 at 6. The medical record states that Ms. Dhanoa had
“joint and muscle pain” and that “ROM [is] mildly painful for right shoulder.” Id. The medical
record also states that Ms. Dhanoa had right shoulder pain for six weeks. Id.

      On November 24, 2014, Ms. Dhanoa visited Dr. Jeffrey Klein at Orthopedic & Sports
Medical Center due to right shoulder pain. Pet. Ex. 4 at 16. Ms. Dhanoa completed a medical

3
  On January 10, 2017, petitioner filed medical records from Procare Medical Center and billing records from
Orthopedic & Sports Medicine Center. See Pet. Exs. 13-14 (ECF No. 34). In a status report filed the same day,
petitioner indicated Orthopedic & Sports Medicine Center had mistakenly provided petitioner’s billing records
instead of her medical records. Status Report (ECF No. 35). Petitioner further indicated that she expected to receive
and file the medical records from Orthopedic & Sports Medicine Center within 30 days. Id. On February 10, 2017,
petitioner filed these medical records and a statement of completion. See Pet. Ex. 15 (ECF No. 37); Statement of
Completion (ECF No. 38). Petitioner also filed additional medical records from Orthopedic & Sports Medicine
Center on February 22, 2017. See Pet. Ex. 16 (ECF No. 40).

                                                          3
          Case 1:15-vv-01011-UNJ Document 53 Filed 12/08/17 Page 4 of 7



history information form during her visitation. Id. at 7-8. In response to a question which asked
Ms. Dhanoa if she intends to make any claims, Ms. Dhanoa stated, “if it does not go away after 6
months till Jan 15 or till March 15.” Id. at 8. The medical record states that Ms. Dhanoa had a
“three-month history of decreasing range of motion, increasing pain in the right shoulder,” and
that her pain “started after she got an influenza shot in August.” Id. at 16. Dr. Klein diagnosed
Ms. Dhanoa with adhesive capsulitis and prescribed anti-inflammatory medication. Id. He also
wrote a physical therapy prescription for Ms. Dhanoa. Id. at 23.

        On December 15, 2014, Ms. Dhanoa visited her orthopedist for a follow up office visit.
Id. at 15. The medical record states that Ms. Dhanoa “has been taking the anti-inflammatory
medicines” and “going to therapy.” Id. The evaluation states that Ms. Dhanoa made slight
improvements since her last evaluation. Id.

        On December 17, 2014, Ms. Dhanoa visited her cardiologist, Dr. Agrawal, and
mentioned her flu shot. Pet. Ex. 5 at 5. The medical record states that Ms. Dhanoa received “a
Flu shot in her right shoulder about 2-3 weeks ago and since then, she has experienced severe
pains in the shoulder and arm. As well as back.” Id.

        On December 29, 2014, Ms. Dhanoa had a follow up visit with her primary doctor, Dr.
Naghmi, regarding a few complaints, one of them being the pain in her right shoulder. Pet. Ex. 2
at 5. She saw Dr. Naghmi again on January 5, 2015 regarding health complaints, but there is no
mention of right shoulder pain in the record from that visit. Id. at 4.

         On January 9, 2015, Ms. Dhanoa had a follow up visit with her orthopedist and was
advised to continue physical therapy and home rehab. Pet. Ex. 4 at 14. Ms. Dhanoa saw her
orthopedist again on February 10, 2015, and the medical record notes that “[s]he is not making
much progress.” Id. at 13. On April 24, 2015, she was still experiencing pain in her right
shoulder and having trouble sleeping. Id. at 12. Ms. Dhanoa received an injection during this
visit, and was advised to continue her anti-inflammatory medicine and therapy. Id. On May 13,
2015, Ms. Dhanoa began her physical therapy at Rehab Management. Pet. Ex. 12 at 32. On June,
18, 2015, Ms. Dhanoa followed up with Dr. Klein, who stressed the importance of physical
therapy. Pet. Ex. 4 at 11. Ms. Dhanoa’s last formal physical therapy session was on August 13,
2015. Pet. Ex. 12 at 3. She was discharged from physical therapy for failure to schedule future
appointments. Id. at 2.

   III.    Parties’ Arguments

        In her Rule 4, respondent argues that petitioner is not entitled to compensation. (ECF No.
14). The respondent notes that the vaccination record is silent as to the specific location of the
vaccine. Id. at 2, 5. Respondent argues that petitioner’s onset was not immediate. To support
respondent’s argument, respondent notes that petitioner’s examination by her primary doctor on
August 21, 2014 showed a normal range of motion in all extremities. Id. at 5. Respondent also
points out that petitioner did not complain of shoulder pain until October 31, 2014, when she
mentioned her pain began six weeks prior to this visit. Id. Respondent adds that the medical
report from petitioner’s visit to her cardiologist on December 17, 2015 states that petitioner
received her flu shot and experienced pain about two to three weeks prior to visit. Id. at 6.

                                                4
          Case 1:15-vv-01011-UNJ Document 53 Filed 12/08/17 Page 5 of 7




        Petitioner has no personal or family history of any shoulder injuries. Petition at 1, ¶2. In
her affidavit, she alleges that she felt severe pain in her right shoulder immediately after her flu
vaccination on August 19, 2014. Pet. Ex. 11 at 1, ¶4. She took Tylenol after her flu vaccine for
pain relief. Pet. Ex. 11 at 1, ¶5. Petitioner went to her primary care physician, Dr. Naghmi, on
August 21, 2014 for the purpose of treating a spreading rash and although “[her] right shoulder
was sore” she “thought it was normal pain from vaccination and did not think to mention it to
[her] doctor.” Id. at 1, ¶6. To provide additional clarification regarding her delay complaining of
shoulder pain, Ms. Dhanoa stated that she “ha[s] had vaccines before and experienced pain, [and]
I thought this was no different.” Id. Ms. Dhanoa did not mention her shoulder pain to her
dermatologist on August 28, 2014 and September 30, 2014, reasoning that she was treating the
pain on her own with Tylenol and that “Dr. Aponte is a dermatologist and was not the doctor
[she] would see for a shoulder injury.” Id. at 1-2, ¶7.

        Ms. Dhanoa also clarified that her October 31, 2014 appointment, where the medical
record notes that her right shoulder pain began six weeks prior, “was an estimation regarding the
onset of the pain,” and “[t]he pain in [her] right shoulder began after receiving the influenza
vaccination and slowly got worse over the following weeks.” Id. at 2, ¶8; see also Transcript of
Proceedings (“Tr.”) at 23 (ECF No. 33). In regard to Ms. Dhanoa’s December 12, 2014 visit to
her cardiologist, Ms. Dhanoa clarified that her doctor’s note, which states that she received her
flu vaccination 2-3 weeks prior, is an incorrect timeline because she “received [her] flu
vaccination 2-3 months prior to this visit on August 19, 2014.” Pet. Ex. 11 at 2, ¶12.

         Ms. Dhanoa testified that her shoulder pain became increasingly painful over time after
she received her flu shot on August 19, 2014. Her pain level started at a level five out of ten and
increased as high as 10.5. See Tr. at 10, 18, 24, 29. She testified that her pain limited her
activities of daily life such as Zumba, swimming, household work, opening doors, and getting
dressed and combing her hair. Tr. at 29, 44. At the hearing, Ms. Dhanoa demonstrated her
limitations to her range of motion. See Tr. at 81-82.

   IV.     Discussion

           A. Applicable Legal Standard

        A petitioner must prove, by a preponderance of the evidence, the factual circumstances
surrounding her claim. 42 U.S.C. § 300aa–13(a)(1)(A). To resolve factual issues, the special
master must weigh the evidence presented, which may include contemporaneous medical records
and testimony. See Burns v. Sec'y of Health & Human Servs., 3 F.3d 415, 417 (Fed.Cir.1993)
(explaining that a special master must decide what weight to give evidence including oral
testimony and contemporaneous medical records). Contemporaneous medical records are
presumed to be accurate. See Cucuras v. Sec’y of Health & Human Servs., 993 F.2d 1525, 1528
(Fed. Cir. 1993). To overcome the presumptive accuracy of medical records testimony, a
petitioner may present testimony which is “consistent, clear, cogent, and compelling.” Sanchez
v. Sec'y of Health & Human Servs., No. 11–685V, 2013 WL 1880825, at *3 (Fed. Cl. Spec. Mstr.
Apr. 10, 2013) (citing Blutstein v. Sec'y of Health & Human Servs., No. 90–2808V, 1998 WL
408611, at *5 (Fed. Cl. Spec. Mstr. June 30, 1998)).

                                                 5
            Case 1:15-vv-01011-UNJ Document 53 Filed 12/08/17 Page 6 of 7



             B. Evaluation of the Evidence

        Here, the undersigned finds that there is preponderant evidence to support Ms. Dhanoa’s
claim that the flu vaccine she received on August 19, 2014, was administered in her right arm.
The undersigned bases her finding on petitioner’s affidavit 4 and consistent entries in the medical
records. 5

        The undersigned also finds that there is preponderant evidence to support that the onset of
Ms. Dhanoa’s right shoulder pain occurred within forty-eight hours of her August 19, 2014 flu
vaccination. Because this type of injury, SIRVA, is rare and not commonly known to the general
public, it is not unusual to see the lack of documentation that exists in petitioner’s case. The
undersigned finds petitioner’s affidavit and testimony to be credible. Petitioner’s clinical course
and diagnosis is consistent with a SIRVA. Additionally, the affidavit and testimony submitted by
petitioner offer corroboration of her claim that she experienced a progressive increase of right
shoulder pain after receiving her flu vaccine on August 19, 2014.

        Petitioner’s failure to mention her shoulder pain to her primary care physician on August
21, 2014, or her dermatologist on August 28, 2014 and September 30, 2014 is reasonable. Based
on her experience in the Program, the undersigned notes that it is not uncommon for a petitioner
to delay seeking treatment for a shoulder injury after vaccination. Petitioner delayed seeking
treatment for her shoulder pain by self-treating with Tylenol and hoping that her pain would
cease. See Pet. Ex. 11 at 1, ¶5. It is reasonable that petitioner did not mention the pain she felt to
her primary care provider just a few days after vaccination or her dermatologist during two
subsequent visits. See Pet. Ex. 2 at 7; Pet. Ex. 8 at 6-7. The entries are not helpful but also are not
inconsistent with petitioner’s assertions. Petitioner visited her primary care provider on August
21, 2014 due to a spreading rash and did not mention her right shoulder pain because she
believed the soreness in her right shoulder from the flu vaccine was normal. See Pet. Ex. 11 at 1,
¶6. Petitioner’s visits with her dermatologist on August 28, 2014 and September 30, 2014 were
for the purpose of petitioner’s rash, and petitioner did not mention her right shoulder pain due to
her dermatologist’s limited specialty. It is reasonable that petitioner would not see her
dermatologist for a shoulder injury. See Pet. Ex. 11 at 2, ¶7; Tr. at 16-17. The undersigned
credits the explanation given by petitioner her in affidavit that she felt severe pain after injection
but attributed it to a normal outcome following vaccination and thus, did not seek treatment
sooner. See Pet. Ex. 11 at 1, ¶¶ 4-6.

        Petitioner’s medical record from her December 17, 2014 visit with her cardiologist states
that petitioner received her flu shot two to three weeks ago and experienced severe shoulder and
arm pain since her flu shot. Pet. Ex. 5 at 5. The incorrect onset of petitioner’s shoulder pain
reported in the record from petitioner’s cardiologist is the result of petitioner’s failure to give an
accurate history or the cardiologist’s erroneous notation of “weeks” instead of “months.” By

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  The affidavit states that petitioner “received the influenza vaccination in [her] right arm” and “[i]mmediately
following the vaccination, [she] felt severe pain in [her] right shoulder.” See Pet. Ex. 11 at 1, ¶¶ 3-4.
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  For example, a medical record from Orthopedic & Sports Medicine Center states that petitioner visited with “about
three-month history of decreasing range of motion, increasing pain in the right shoulder” and that “[this issue]
started after [petitioner] got an influenza shot in August.” Pet. Ex. 4 at 16. A medical record from petitioner’s
cardiologist states that petitioner “received a flu shot in her right shoulder.” Pet. Ex. 5 at 5.

                                                           6
          Case 1:15-vv-01011-UNJ Document 53 Filed 12/08/17 Page 7 of 7



petitioner’s own admission, she often was not exact when providing her medical history. Tr. at
23. On October 31, 2014, petitioner complained of “pain in right shoulder for 6 weeks.” See Pet.
Ex. 2 at 6. Petitioner agreed this entry was undoubtedly erroneous, suggesting she was providing
an approximate time frame and describing a point when the pain worsened. Tr. at 23. The
undersigned finds these incorrect entries regarding the onset of petitioner’s pain are not sufficient
to counter entries establishing petitioner’s pain began after her flu vaccination. See, e.g., Pet. Ex.
4 at 16. The undersigned finds petitioner’s assertion that she experienced pain immediately
following vaccination which slowly worsened over time to be credible. See Pet. Ex. 11 at 2, ¶8;
Tr. at 23.

   V.      Conclusion

       Thus, the undersigned finds, based on the record as a whole, that petitioner received a flu
vaccine in her right arm on August 19, 2014, as alleged in the petition. The undersigned finds,
based on the record as a whole, that onset occurred within forty-eight hours of petitioner’s flu
shot on August 19, 2014.

        The parties are encouraged to consider an informal resolution of this claim. Petitioner
shall file a joint status report by no later than Friday, May 19, 2017, updating the court on
the status of the parties’ settlement discussions.


IT IS SO ORDERED.
                                                      s/Nora Beth Dorsey
                                                      Nora Beth Dorsey
                                                      Chief Special Master




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